 8:17-cr-00207-RFR-MDN           Doc # 79    Filed: 11/09/17   Page 1 of 1 - Page ID # 181




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )                8:17CR207
      vs.                                     )
                                              )                  ORDER
BLANCA AVILA DE VEGA, MELISSA                 )
VEGA, CARLOS ALBERTO VALQUIER                 )
and ALFREDO VALQUIER,                         )
                                              )
                    Defendants.


       This matter is before the court on the government's Motion to Continue Trial [78].
The government requests a two week continuance in order to finalize pleas prior to trial.
Defendants Blanca Avila De Vega, Carlos Alberto-Valquier and Alfredo Valquier have no
objections to the motion. Defendant Melissa Vega objects to the continuance. Good
cause being shown, the motion will be granted and the trial shall be continued.

      IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial, for all defendants, currently scheduled set for November 13,
2017, is continued to November 27, 2017.

       2. The time between November 13, 2017, and the commencement of trial is
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that in continuing trial the ends of justice outweigh the best
interest of the public and Defendant in a speedy trial and for the reasons set out in the
government’s motion to continue trial, See 18 USC 3161(h)(6); (7)(A), (B)(i), (iv).

        3.   A party may object to this order by filing an "Objection to Magistrate
Judge's Order" no later than November 15, 2017. The objecting party must comply with
all requirements of NECrimR 59.2.

      DATED November 9, 2017.

                                            BY THE COURT:

                                            s/ Michael D. Nelson
                                            United States Magistrate Judge
